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                                                      -   i       COLR               Monday December 10, 2018
     Hon. Madeline Cox Arleo
     United States District Judge
     District of New Jersey
     M.L King Jr., Federal Building & Courthouse
     50 Walnut Street
     Newark, New Jersey 07101.


     Via Regular Mail

                             Re: United States v. RichardAdebayo (15-550 (MCA))
                                 Supplemental STA Informative Calendar
                                                  —




     Dear Judge Arleo,


            Please accept this supplemental letter brief as to the STA Informative
                                                                                   Calendar previously
    submitted to the Court. $çç Dkt. 108. There are additional STA non-ex
                                                                          cludable period and an ends-
    of-justice continuance granted on improper basis which the defendant believe
                                                                                 must be raised and
    addressed before the court to preserve his right.


                                                      Legal Argument


            I.     May 1 and 16, 2018 Motions


            Third Circuit in United States v. Felton, 811 F.2d 190, 197 (3d Cir. 1987)
                                                                                       (precedential)
    observed and applied that only thirty days are excludable when defend
                                                                          ant file a motion that is pending,
    unopposed and unresolved for several months pursuant to 18 U.S.C.           3161 (h)(1’)(H) and held that
                                                                            §
    pretrial motions are included within the scope of subsection (H). Id.


           More recently in United States v. Greer, 527 Fed. Appx. 225, 230 (3d Cir.
                                                                                     2013), vacated on
    other grounds, 134 S. Ct. 1875, 188 L. Ed. 2d 905 (2014), Third circuit applied
                                                                                    the thirty days
    limitation to Greer ‘s motion for Jencks that was pending before the district
                                                                                  court for several months

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pursuant to Felton. (“In light of Felton, we will assume that only thirty days were properly excludable

as a result of Greers Jencks request”.) id.

          Other Courts facing similar situation within our circuit and others have applied this principle.

See United States v. Brown, 2009 U.S. Dist. LEXIS 71043, 52 V.1. 713-714 (D.V.I. 2009), affirmed,

404 Fed. Appx. 665 (3rd Cir. 2010) (“The fact that a motion is pending or is otherwise unresolved,

does not toll the Speedy Trial Clock”); See also United States v. Jolmson, 29 F.3d 940, 945 (5th Cir.

1994) (relying on same subsection to conclude that only thirty days are excludable when defendant

moved to suppress evidence and neither party filed additional materials).

          The Defendant’s motion to dismiss the indictment with prejudice (“the motion”) was filed on

May 1, 2018 and the government’s was duly served on the same date. $g Dkt. 95. The Government

also improperly relied on the pendency of the motion as justification for further delay in its May 16,

2018 continuance motion but still failed to respond to the motion. The Defendant’s motion to dismiss

did not request a hearing and properly set forth the basis for which relief may be granted. The motion

has since been pending for over eight months, unaddressed by the government and unresolved by the

Court, similar to the pending severance motion in Felton. Defendant submits to the Court that in the

light of Felton, both May 1 and 16, 2018 motions are subject to subjection (H) thirty days excludable

limit.

          Pursuant to these authorities, the time periods from June 16, 2018 through July 17, 2018,

08/14/2018 through 09/23/2018 and November 15, 2018 through November 29, 2018 are non-

excludable in the light of Felton.




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        II.       April 11.2018 Ends of Justice Continuance Order (Dkt 91)


        On April 6,2018, the Government filed a motion seeking an ends ofjustice tolling of the

Speedy Trial Clock, the government sought that continuance because AUSA Erica Liu was previously

scheduled to begin another trial in another mailer in United States v. Brandon McIntyre, Crim No. 16-

13 (KM).          Dkt. 90. This Court granted the motion on April 11, 2018. The Mcintyre trial already

ended on February 28, 2018 before the government’s April 6, 2018 motion and can no longer serve

any ends-of-justice purpose under the Speedy Trial Act as of April 11, 2018. Defendant submit to the

court that the ends-of-justice continuance was erroneously granted on non-existent trial schedule

conflict.


        The Government also relied on its previous request for additional time to prepare for trial and

continuity of counsel. There was no information in the motion to help the Court determine how much

time the AUSA actually needed to prepare for trial and/or preparations she had already made, given

that an ends of justice continuance was previously entered on December 18, 2017 through March 1,

2018 for effective preparation for trial and additional trial preparation time from March 1, 201 8 until

April 6, 2018. Without this information, the court adequately could not have determined whether

denial of a continuance would have deprived the government of “continuity of counsel” and

“reasonable time necessary for effective preparation,” taking into account the exercise of due diligence

and also avoid a miscarriage ofjustice 18 U.S.C. 3161(h)(7)(B) (i) and (iv), let alone whether the

purported reasons for granting the continuance outweighed the best interests of the public and

defendant in a speedy trial.


            Simply identifying an event and adding the conclusory statement that event requires more time

 for counsel to prepare is not enough to support a continuance under (h)(7)(A). See Toombs. 574 F.3d


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at 1271-72. See also United States v. Watts, 2005 U.S. Dist. Lexis 22505, 47 V.1 562 n.5 (D.V.I

2005)C’A court cannot simply rubber-stamp a government motion for a continuance and exclusion of

time by simply making an “ends of justice” finding..”) citing United States v. Gonzales, 137 F.3d 1431
(loth
        Cir. 1998)(holding that a district court abused its discretion when it concluded that the interests of

justice would best be served by excluding time and continuing trial so that the government’s counsel

could have more time to prepare without adequate inquiry required by the Act”). On this additional

grounds, defendant respectfully request that the April 11, 2018 order be vacated.




          HI.                                    Conclusion


                  Defendant submit to the Court that more than 209 non-excludable days had elapsed

          under the Speedy Trial Act. The 70 days to bring the defendant to trial on all counts in the

          original and superseding indictment had expired.

                  Defendant also preserve his right to file motion to dismiss the indictment under the

           Sixth Amendment pursuant to Barker v. Wingo, 407 U.S. 514 (1972) before trial.

                      Below is an updated STA informative calendar for the court’s consideration.




                     NON-EXCLUDABLE DAYS FROM DATE OF INDICTMENT


  10/20/2015                                     (0 day elapsed, date of original indictment)


  10/21/2015 through 10/31/2015                  (11 days elapsed)


  11/01/2015 through 12/1/2015                   (30 days elapsed) (Arraignment day excluded)


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06/29/2017 through 7/18/2017        (10 days elapsed after 10 days transportation excluded)


12/08/2017 through 12/17/20 17      (10 days elapsed)


03/02/2018 through 04/05/2018       (35 days elapsed)


04/06/2018 through 04/30/2018       (25 days elapsed under Brooks, 697 F.2d 517 (3d Cir. 1982)


05/04/2018                          (Date of superseding indictment)

*06/16/2018 through 07/17/2018      (32 days elapsed under Felton (3d Cir. 1987))


08/14/2018 through 09/23/2018       (41 days elapsed under Felton and Appendix J (“the Plan”))

*   11/15/2018 through 11/29/2018   (15 days elapsed under Felton (3d Cir. 1987))


                                     Total non-excludable days   =   209




Respectfully Submitted,




Richard Adebayo
Defendant, pro se




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                                   CERTIFICATE OF SERVICE


I, Richard Adebayo, Defendant, prose hereby certify a true and correct copy of this Supplemental    —




STA Informative Calendar has been provided by postage pre-paid United States Mail to AUSA Erica

D. Liu at the United States Attorney’s Office for the District of New Jersey at 970 Broad Street,

Newark, New Jersey 07102. A courtesy copy has also been mailed to the chambers of the Hon.

Madeline Cox Arleo.




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Richard Adebayo
Defendant, pro se


Dated: December 10, 2018




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 Richard Adebayo (J2017-10595)
 Essex County Correctional Facility
                                                    -                  -
 354 Doremus Avenue
 Newark, NJ 07105
                                                                                                           :‘



                                                         Office of the Clerk                   -‘


                                                   United States District Court
                                                       District of New Jersey
                    C:’
                                            M.L King Jr., Federal Building & Courthouse
                    C—                                    50 Walnut Street
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                                                    Newark, New Jersey 07101

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